                                 Case 23-10831-MFW          Doc 1011-5           Filed 02/26/24   Page 1 of 1

                                                    EXHIBIT D

                                          Lordstown Motors Corp., et al.
                                                 Case No. 23-10831
                                        Summary of Out of Pocket Expenses
                                      January 1, 2024 through January 31, 2024


                  Category                                                         Amount
                  Airfare                                                    $              -
                  Lodging                                                    $              -
                  Meals                                                      $              -
                  Ground Transportation                                      $              -
                  Miscellaneous                                              $              -
                                            Total                            $              -




KPMG LLP Monthly Fee Statement                                                                              Page 46 of 46
